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                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION



THE STATE OF OHIO, ex rel. DAVE YOST,                  Civil Action No. 4:23CV517
OHIO ATTORNEY GENERAL,
                                                                        4:23CV675
and
                                                       Hon. John R. Adams
THE UNITED STATES OF AMERICA,
                                                       THIRD-PARTY COMPLAINT WITH
                             Plaintiffs,               JURY DEMAND

       v.

NORFOLK SOUTHERN RAILWAY COMPANY
and NORFOLK SOUTHERN CORPORATION,

                             Defendants/Third-
                             Party Plaintiffs,

       v.

OXY VINYLS LP, GATX CORPORATION,
GENERAL AMERICAN MARKS COMPANY,
TRINITY INDUSTRIES LEASING COMPANY,
SMBC RAIL SERVICES LLC, DOW CHEMICAL
INCORPORATED, and UNION TANK CAR
COMPANY,

                             Third-Party
                             Defendants.


   NORFOLK SOUTHERN RAILWAY COMPANY AND NORFOLK SOUTHERN
             CORPORATION’S THIRD-PARTY COMPLAINT

       Pursuant to Rule 14(a) of the Federal Rules of Civil Procedure, Defendants Norfolk

Southern Railway Company and Norfolk Southern Corporation (collectively, “Norfolk

Southern”), by their undersigned counsel, for their Third-Party Complaint against Third-Party

Defendants Oxy Vinyls LP, GATX Corporation, General American Marks Company, Trinity

Industries Leasing Company, SMBC Rail Services LLC, Dow Chemical Incorporated, and

Union Tank Car Company, allege as follows:
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                                        INTRODUCTION

       On the night of February 3, 2023, a Norfolk Southern train, Train 32N, derailed in

East Palestine, Ohio. Norfolk Southern is a common carrier, which means it is required by

federal law to accept and transport innumerable materials, including chemicals that are used

to make everyday products. Train 32N was transporting several railcars containing chemicals,

including five railcars containing vinyl chloride. Vinyl chloride is used to make polyvinyl

chloride, or PVC, one of the most widely produced synthetic plastics, typically found in

clothing, pipes, doors, windows, and residential construction. Norfolk Southern did not

manufacture, load, or own the vinyl chloride and other chemicals that Train 32N was carrying

on February 3, 2023, nor did it manufacture, lease, or own the railcars that contained the

vinyl chloride and other chemicals.

       In the United States, railroads are obligated as common carriers under 49 U.S.C.

§ 11101 to transport hazardous materials, including chemicals. This common-carrier

obligation recognizes the public good of open access to rail transportation, which is the safest

and most fuel-efficient means for the transport of hazardous materials. The responsibility for

safe transport is shared among several interested parties, including the manufacturers of the

railcars and safety devices, the owners and lessees of the railcars, the manufacturers and

shippers of the material being transported, and the railroad. Each interested party along the

way is regulated by a multitude of federal laws, regulations, and industry practices: railcars,

railcar components, and hazardous materials tank cars are federally certified to meet physical

and safety requirements; specialized shipping procedures are required for chemicals; and

inspections are conducted of the railcars and their safety features, the shipped materials, the

tracks, and devices along the tracks.

       Despite this regulatory scheme and the rail industry’s focus on safety, incidents can

occur. On February 3, 2023, Train 32N included a railcar owned by General American Marks




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Company. A bearing on that railcar failed and the car derailed. In turn, several railcars on

Train 32N derailed. Norfolk Southern did not manufacture or own the bearing; did not

manufacture, own, or lease the derailed railcar; and did not manufacture, own, or load the

contents of that railcar. Nonetheless, Norfolk Southern responded to the derailment quickly

and comprehensively, including by working to clean up the released materials, restore local

waterways, and provide millions of dollars in assistance to residents and communities.

Norfolk Southern is committed to being there for East Palestine and the surrounding

communities for the long haul.

       At the same time, federal environmental laws require that all responsible parties

contribute to the cleanup costs. The Comprehensive Environmental Response, Compensation,

and Liability Act of 1980 was passed to ensure the cleanup of contaminated sites, including

when accidents occur. Congress established a broad strict-liability regime that holds a range

of past and current owners and operators of facilities liable to secure the financial resources

necessary to address the release of hazardous substances. This regime ensures that all

industry participants bear the environmental cost of potentially hazardous goods, which

balances the benefits of industrial manufacturing with the protection of public resources. In

this instance, the responsible parties include, among others, the owners of the railcars that

were carrying chemicals and the shippers of the chemicals released in the derailment.

       In the rail industry, a host of regulations and standards govern the design, materials,

construction, conversion, and modification of railcars and their components. Shippers of

chemicals are required to comply with handling procedures and, under federal hazard

communications standards, must provide each transporter of a chemical with safety

information. Compliance with these regulations and standards governing railcar equipment,

compatibility with the lading, and safe handling are a centerpiece of safe railroad




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transportation. To that end, railcar owners and shippers governed by these regulatory

standards are responsible for chemicals released in a derailment.

        In bringing this action, Norfolk Southern seeks only what is appropriate under these

laws.

                                   OVERVIEW OF CLAIMS

        1.        Throughout the legal process following the East Palestine train derailment,

Norfolk Southern has committed to making things right in the greater East Palestine area.

This Third-Party Complaint does not change that commitment, but rather seeks to ensure that

others responsible for the safe transport of their railcars and their chemicals contribute

resources to the effort. Norfolk Southern has taken significant steps to assist the people of

East Palestine and the surrounding area, including by providing millions of dollars in

financial assistance to residents and communities. Norfolk Southern is committed to

establishing long-term funds to address concerns about health, water quality, and residential

property values as part of a final resolution of claims. Norfolk Southern also continues to

remediate the derailment site with oversight by the U.S. Environmental Protection Agency,

the Ohio Environmental Protection Agency, and other federal, state, and local regulatory

agencies. Norfolk Southern has undertaken these steps without any financial assistance from

other entities.

        2.        Norfolk Southern brings this Third-Party Complaint pursuant to Sections

107(a) and 113(f) of the Comprehensive Environmental Response, Compensation, and

Liability Act (“CERCLA”), 42 U.S.C. §§ 9607(a), 9613(f), to recover from Third-Party

Defendants their share of response costs that Norfolk Southern has incurred and will incur for

investigation, design, construction, remediation, and other activities in East Palestine, Ohio,

arising from the February 3, 2023, train derailment on the Fort Wayne Line of the Keystone

Division. The response costs resulted from the release of one or more hazardous substances,




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as defined by Section 101(14) of CERCLA, 42 U.S.C. § 9601(14), from railcars owned

and/or operated by the Third-Party Defendants.

       3.      Norfolk Southern seeks a declaratory judgment that it is entitled to

contribution from the Third-Party Defendants for their fair share of the liability attributed to

Norfolk Southern for the release of hazardous substances arising out of the February 3, 2023,

train derailment.

       4.      Norfolk Southern also seeks contribution under Ohio law for any costs that

Norfolk Southern has paid in excess of its proportionate share of costs.

       5.      Lastly, Norfolk Southern seeks damages under Ohio law for the negligence of

certain Third-Party Defendants that failed to follow federal regulations and industry rules

governing the compliance and certification of hazardous materials tank cars, failed to ensure

that shipping equipment was compatible with the lading, failed to provide accurate hazardous

communication information, and/or failed to properly maintain railcars and equipment. Under

Ohio state law and equitable principles, these Third-Party Defendants are liable to Norfolk

Southern for contribution toward any costs Norfolk Southern has paid in excess of its

proportionate share of costs. See O.R.C. §§ 2307.22, 2307.25.

                                        THE PARTIES

       6.      Third-Party Plaintiff Norfolk Southern Railway Company, a Virginia

company, is a subsidiary and principal operating company of Norfolk Southern Corporation.

Norfolk Southern Railway Company conducted railroad operations in East Palestine, Ohio,

on February 3, 2023.

       7.      Third-Party Plaintiff Norfolk Southern Corporation, a Virginia corporation, is

the parent of Norfolk Southern Railway Company.




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         8.    Oxy Vinyls LP (“Oxy Vinyls”), a Delaware limited partnership, was at all

relevant times the owner of railcars OCPX80235 (“Car 27”1), OCPX80179 (“Car 28”), and

OCPX80370 (“Car 53”), that derailed on February 3, 2023. Oxy Vinyls, shipping from its La

Porte, Texas, facility, was additionally at all relevant times the shipper of TILX402025 (“Car

26”), Car 27, Car 28, GATX95098 (“Car 29”), and Car 53, all of which derailed on February

3, 2023.

         9.    GATX Corporation, a New York corporation, was at all relevant times the

owner of Car 29.

         10.   Trinity Industries Leasing Company, a Delaware company and subsidiary of

Trinity Industries Corporation, was at all relevant times the owner of Car 26.

         11.   General American Marks Company, a subsidiary of GATX Corporation, a

Delaware Corporation, was at all relevant times the owner of railcar GPLX75465 (“Car 23”)

that derailed on February 3, 2023.

         12.   SMBC Rail Services LLC, a Delaware limited liability company, was at all

relevant times the owner of railcar SHPX211226 (“Car 34”) that derailed on February 3,

2023.

         13.   Dow Chemical Incorporated, a Delaware company, was at all relevant times

the owner of railcar DOWX73168 (“Car 36”) that derailed on February 3, 2023.

         14.   Union Tank Car Company, a Delaware company, was at all relevant times the

owner of railcar UTLX205907 (“Car 48”) that derailed on February 3, 2023.




1
  The car numbers used in this Third-Party Complaint refer to each railcar’s position among
the train’s 149 railcars, which followed the two head-end locomotives. For example, Car 1
would refer to the train’s first railcar, which would have been in the third position in the train
overall.


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                                       JURISDICTION

          15.   The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331;

Section 113(b) of CERCLA, 42 U.S.C. § 9613(b); and 28 U.S.C. § 2201.

          16.   The Court has jurisdiction over pendant state-law claims pursuant to 28 U.S.C.

§ 1367.

                                            VENUE

          17.   Venue is proper in the Northern District of Ohio pursuant to 28 U.S.C.

§ 1391(b) and Section 113(b) of CERCLA, 42 U.S.C. § 9613(b), because the release and

circumstances giving rise to the claim for response costs occurred in East Palestine, Ohio,

which lies within this judicial district. Additionally, this Third-Party Complaint is brought in

an action already pending before this Court.

                                FACTUAL ALLEGATIONS

          A.    Railroad Transportation and Common Carrier Obligations

          18.   Railroads are one of multiple links in the chain of production, transportation,

distribution, and consumption that connects American businesses and industries to the global

economy.

          19.   As common carriers, railroads have a statutory duty to provide “transportation

or service on reasonable request” to all shippers. 49 U.S.C. § 11101(a). Railroads may not

refuse to provide service because doing so would be inconvenient, unprofitable, or potentially

risky.

          20.   This common-carrier obligation also imposes a duty on railroads to transport

hazardous materials, even when a railroad might prefer not to do so. Under this obligation,

railroads have been charged with the safe transportation of materials such as crude oil, spent

nuclear fuel, and a range of chemicals, among other hazardous materials.




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        21.    Railroads take the common-carrier obligation seriously and are the nation’s

most trusted transporter of hazardous materials. Incident rates stemming from the transport of

hazardous materials by rail are at an all-time low, and more than 99.9% of hazardous

materials reach their destination without incident. The railroad industry’s accident rate is far

lower than the accident rate for trucking—according to studies, trucks carrying hazardous

materials are involved in nearly ten times the rate of fatal accidents. In addition, transport by

rail has a lower environmental impact than trucking. Trains are four times more efficient than

trucks and are able to move one ton of freight more than 470 miles on one gallon of diesel

fuel.

        22.    While railroads are the primary face of hazardous materials transportation,

they are only one of many regulated steps in the transportation process. Generally, railroads

are responsible for train movement and track maintenance, but rely considerably on other

entities for the safe transportation and delivery of hazardous goods.

        23.    For example, railroads—like Norfolk Southern here—typically do not own

tank cars that carry hazardous materials. Rather, they rely on tank car manufacturers and

owners to ensure tank cars are compliant with federal laws and regulations and capable of

safely moving hazardous materials. See generally 49 C.F.R. part 180.

        24.    Additionally, railroads rely on shippers for the safe loading, packaging, and

inspection of hazardous goods. Shippers ensure, and certify to railroads pursuant to federal

regulations, that hazardous materials are properly classified as hazardous, loaded into tank

cars following specific steps, securely closed, labeled with a placard for outward hazardous

identification, and shipped with proper identification and safety materials for the railroad and

potential first responders to rely on. See generally 49 C.F.R. part 173.

        25.    When a tank car carrying hazardous materials is presented to a railroad for

shipment, the railroad is responsible for collecting shippers’ certifications and other shipping




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papers, conducting a limited visual inspection of the tank car from the ground, and

transporting the hazardous materials in a safe and expeditious manner. See generally 49

C.F.R. part 174.

          26.   However, railroads are limited in their ability to conduct a detailed inspection

or take other action. They cannot, for example, test or certify a tank car’s safety-related

mechanical functions—as car owners must do under 49 C.F.R. § 180.509 and other

provisions—or load the hazardous materials to ensure proper stability and pressure for

shipment—as chemical shippers must do under 49 C.F.R. § 173.22. It is the shipper that has

the primary obligation to ensure that the railcar and equipment used are compatible with the

lading.

          27.   Ultimately, the safe transportation of hazardous materials depends on the care

of each and every company involved in shipment. When accidents occur, as they did on

February 3, 2023, each interested party is responsible for doing its part to address the impact.

          B.    The Fort Wayne Rail Line

          28.   Norfolk Southern operates a Class I freight railroad that connects twenty-two

states and the District of Columbia across the eastern United States.

          29.   From its headquarters in Atlanta, Georgia, Norfolk Southern manages

operations for more than 19,000 route miles. It is the largest intermodal network in the

eastern United States.

          30.   The Fort Wayne rail line traces back to the 1850s, when it was built to connect

Chicago, Illinois to Pittsburgh, Pennsylvania. The line runs from southwest to northeast

across Indiana, then east and southeast across Ohio to Pittsburgh.

          31.   Before crossing the border into Pennsylvania, the line runs through East

Palestine, Ohio, at approximately milepost fifty.




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       32.     East Palestine is a village in Columbiana County near the Pennsylvania

border, approximately twenty miles north of the Ohio River border separating Ohio from

West Virginia. East Palestine was founded in 1828. Today, it is home to roughly 4,700

residents.

       C.      The February 3, 2023, Derailment

       33.     On February 3, 2023, Train 32N, a Norfolk Southern Railway general

merchandise freight train, was traveling eastbound on the Fort Wayne Line of the Keystone

Division through northeast Ohio.

       34.     Train 32N was comprised of 2 head-end locomotives, 149 railcars, and 1

distributed power locomotive that was positioned between the 111th and 112th railcars.

       35.     The train was assembled in Madison, Illinois, and was destined for Conway,

Pennsylvania. On February 1, 2023, in Madison, a qualified mechanical inspector conducted

a mechanical inspection and air brake test.

       36.      One of Train 32N’s cars was Car 23, a hopper car owned by General

American Marks Corporation that was carrying polyethylene (plastic) pellets.

       37.     Car 23 was received by Norfolk Southern at the interchange in the Terminal

Railroad Association (“TRRA”) of St. Louis yard in Madison and transferred by Alston &

Southern Railway, a subsidiary of Union Pacific Railroad Company. At the TRRA yard,

TRRA employees performed and certified a brake test on Car 23.

       38.     Modern railcars, like Car 23, have roller bearings that transfer the weight of

the car and its lading to the wheels. The bearings allow the axle to rotate under the load,

while minimizing the rotational friction. Bearings are capable of overheating and, though

uncommon, can cause derailments.

       39.     Therefore, Norfolk Southern has equipped its network, including the Fort

Wayne Line, with a hot bearing detector (“HBD”) system. HBDs are devices that assess the




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temperature conditions of bearings and provide audible, real-time warnings to train crews and

Norfolk Southern’s Advance Train Control Wayside Help Desk—a twenty-four-hour alert

desk in Atlanta—when bearing temperatures indicate potential overheating.

         40.   HBDs provide alerts and alarms to train crews and the Wayside Help Desk

when bearings report high temperatures above ambient temperature. Per Norfolk Southern’s

protocol in effect on February 3, 2023, if a bearing temperature reading exceeded 200°F

above ambient temperature, a critical alarm would be triggered that required the train crew to

stop the train. Another type of non-critical alarm would be triggered at 170°F above ambient

temperature. And an alert created by Norfolk Southern—called a “953 alert”—would be

triggered based on a trending algorithm of train data to alert the Wayside Help Desk that a

bearing may be overheating.

         41.   Although the Federal Railroad Administration does not require the use of

HBDs, at the time of the derailment, Norfolk Southern had HBDs spaced at a maximum of

every forty miles. The average spacing of HBDs across Norfolk Southern’s network is 13.9

miles.

         42.   On the night of February 3, 2023, Norfolk Southern’s HBD system on the Fort

Wayne Line was in operation. Train 32N passed three HBDs in northeast Ohio in the thirty

miles west of East Palestine. Approximately thirty miles before the derailment, near Sebring,

Ohio, at milepost 79.8, the first of these three HBDs recorded a bearing on Car 23 at 38°F

above ambient temperature. This temperature was within normal range and did not send any

alert.

         43.   When the train passed the next HBD about ten miles later outside Salem,

Ohio, at milepost 69.01, the bearing’s recorded temperature was 103°F above ambient

temperature, still below the temperature threshold for a critical alarm. The Salem temperature

did cause a 953 alert (not an alarm) to be sent to the Wayside Help Desk, but the temperature




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reading did not require any action by the Wayside Help Desk, as it was well below the

threshold for a critical alarm.

          44.      At the third HBD in East Palestine at milepost 49.81, the detector recorded a

temperature of 253°F above ambient temperature, triggering a critical, audible alarm to the

train crew. At this time, the Norfolk Southern train crew was traveling forty-seven miles per

hour and already slowing the train because of train traffic ahead on the line. Upon receiving

the critical alert, the train engineer increased the brake application to further slow the train to

a stop.

          45.      During deceleration of the train, at approximately 8:54 p.m., the overheated

bearing on Car 23 failed, and the car derailed near milepost 49.5.

          46.      Thirty-eight railcars then also derailed from the main track, including the

following eight tank cars:

                a. Car 26, TILX402025, carrying vinyl chloride.

                b. Car 27, OCPX80235, carrying vinyl chloride.

                c. Car 28, OCPX80179, carrying vinyl chloride.

                d. Car 29, GATX95098, carrying vinyl chloride.

                e. Car 34, SHPX211226, carrying ethylene glycol monobutyl ether.

                f. Car 36, DOWX73168, carrying 2-ethyl hexyl acrylate.

                g. Car 48, UTLX205907, carrying butyl acrylates.

                h. Car 53, OCPX80370, carrying vinyl chloride.

          47.      Cars 26, 27, 28, 29, and 53, among others, were subsequently involved in pool

fires that lasted until on or about February 6, 2023.

          D.       The Derailed Tank Cars

          48.      Three tank cars carrying chemicals—Cars 34, 36, and 48 (the non-vinyl

chloride cars)—were breached in the derailment:




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             a. Car 34 was breached, with damage to the B-end top head of the tank, and its

                bottom outlet valve fully opened. Car 34 released its load of roughly 25,000

                gallons of ethylene glycol monobutyl ether.

             b. Car 36 had cracks to the B-end top head and B-end bottom head of the tank,

                and the A-end bottom head was punctured. Car 36 released part of the roughly

                29,000 gallons of 2-ethyl hexyl acrylate in its load.

             c. Car 48’s A-end bottom head was punctured, and its manway gaskets burned

                away. Car 48 released its load of roughly 30,000 gallons of butyl acrylates.

       49.      Cars 34, 36, and 48 were all DOT-111 tank cars.

             a. Car 34 was owned by SMBC Rail Services LLC and was shipping ethylene

                glycol monobutyl ether from shipper Equistar Chemicals BPO.

             b. Car 36 was owned by Dow Chemical Incorporated and was shipping 2-ethyl

                hexyl acrylate from shipper Union Carbide Corporation, a Dow Chemical

                Incorporated subsidiary.

             c. Car 48 was owned by Union Tank Car Company and was shipping butyl

                acrylates from shipper Arkema, Incorporated.

       50.      The DOT-111 is an unpressurized general-service tank car with a gross load

weight of approximately 286,000 pounds and a capacity of 30,000 or less gallons.

       51.      Though one of the most common general-service tank cars, the DOT-111 tank

car is a legacy car and subject to a federal phase-out for use transporting flammable liquids.

The potential replacement, the DOT-117J, features a thicker tank shell, thermal protection

system, and additional features.

       52.      Five derailed tank cars were DOT-105J300W specification tank cars carrying

vinyl chloride (also referred to as “vinyl chloride monomer” or “VCM”), a chemical that is

transported as a compressed liquified gas.




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       53.      These five tank cars were Cars 26, 27, 28, 29, and 53.

             a. Car 26 was owned by Trinity Industries Leasing Company and shipped by

                Oxy Vinyls.

             b. Cars 27, 28, and 53 were owned and shipped by Oxy Vinyls.

             c. Car 29 was owned by GATX Corporation and shipped by Oxy Vinyls.

       54.      The DOT-105J300W is a standardized tank car with a gross rail load of

263,000 pounds and full water capacity of between 23,570 and 25,742 gallons. By federal

regulation, DOT-105 pressure tank cars must have a minimum plate thickness, plate materials

that comply with minimum tensile strength, approved venting, loading, and unloading valves,

and must be tested in compliance with federal testing procedures. See 49 C.F.R. Subpart C,

§ 179.100 et seq.

       55.      The five DOT-105J300W tank cars carrying vinyl chloride were manufactured

by Trinity Tank Car, Incorporated.

       56.      All five tank cars were “fully loaded,” carrying approximately 178,000 pounds

of vinyl chloride each.

       57.      Tank cars carrying pressurized gases are typically outfitted with a reclosing

pressure relief device (“PRD”), which is designed to activate automatically to relieve

pressure from a tank car when the tank’s contents exceed a pressure threshold.

       58.      Each of the five vinyl chloride tank cars—Cars 26, 27, 28, 29, and 53—were

equipped with a PRD designed and manufactured by Midland Manufacturing Corporation.

       59.      Tank cars also have a thermal protection system, which consists of a layer of

insulated fiber between the tank and outer jacket meant to limit the amount of external heat

transferred to the internal tank contents. Federal performance standards for the thermal

protection systems aim to protect the internal tank contents from an external pool fire for




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approximately 100 minutes. After this time, heat will reach the internal tank and the PRD will

activate.

        60.    Each vinyl chloride tank car was also outfitted with protective housing covers.

Cars 27, 28, and 29 were fitted with protective housing covers made of aluminum, and Cars

26 and 53 were fitted with protective housing covers made of steel.

        E.     Vinyl Chloride and Polymerization

        61.    Vinyl chloride is a flammable gas, transported in a pressurized liquid state,

that is used to make PVC, a common synthetic plastic polymer.

        62.    Vinyl chloride must be stabilized for safe transportation to prevent contact

with reactive agents like oxygen. Chemical shippers typically utilize two methods of

stabilization: mixing the liquified vinyl chloride with a chemical stabilizer such as phenol;

and/or purging the tank car with nitrogen prior to filling the car so the oxygen concentration

is below 200 parts per million.

        63.     Oxy Vinyls, which shipped the vinyl chloride in Cars 26, 27, 28, 29, and 53,

utilized oxygen purging to stabilize its vinyl chloride.

        64.    Vinyl chloride is reactive with various external conditions and materials.

Under prolonged exposure to fire or intense heat, liquefied vinyl chloride turns to vapor and

expands, which can cause its container to violently rupture and explode. An uncontrolled

vinyl chloride explosion can result in the release of hydrogen chloride, phosgene, and carbon

monoxide gases, and the resulting rupture can launch tank shrapnel hundreds of feet or more

into the surrounding area. This reaction is called a boiling liquid evaporating vapor explosion

(“BLEVE”).

        65.    In the history of chemical shipping, BLEVE incidents have resulted in

multiple deaths, mass evacuations, and significant damage to property caused by the violent

rupture of the tank car.




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       66.     Another effect of heating vinyl chloride is polymerization, a chemical reaction

that turns vinyl chloride into a solid-state polymer. The industry literature on vinyl chloride

for railroad transportation is nearly uniform in stating that vinyl chloride is capable of

polymerizing at heightened temperatures caused by fire or radiant heat. See, e.g., The

Chlorine Institute & The Vinyl Institute, Pamphlet 171, Vinyl Chloride Monomer (VCM)

Tank Car & Cargo Tank Handling Manual, 4–5 (1st ed. July 2018) (“Exposure to the

following conditions or mixtures with the following elements and materials can cause

explosive or violent polymerization of VCM: air, sunlight, excessive heat, oxidizers, catalytic

metals such as copper and aluminum and their alloys, and certain catalytic impurities.”);

Richard P. Pohanish, Sittig’s Handbook of Toxic and Hazardous Chemical and Carcinogens,

2700 (6th ed. 2012) (“Polymerizes in air, sunlight, heat, and on contact with a catalyst, strong

oxidizers, and metals, such as aluminum and copper, unless stabilized by inhibitors, such as

phenol.”).

       67.     Additionally, polymerization can accelerate the risks of a BLEVE by blocking

pressure release devices that are intended to allow the release of gas pressure when it is

higher than the tank car is designed to contain.

       68.     Though Oxy Vinyls is now discounting the risk that stabilized vinyl chloride

can polymerize due to heating alone, the chemical data sheet that Oxy Vinyls provided to

Norfolk Southern warns of the polymerization and explosion risks of vinyl chloride due to

excessive heating.

       69.     Chemical manufacturers are required by federal regulation to provide these

chemical data sheets, called a Safety Data Sheet (“SDS”), for each chemical they make. See

29 C.F.R. § 1920.1200(g). The SDS must “accurately reflect[] the scientific evidence used in

making the hazard classification,” and must be continually updated. Id. § 1920.1200(g)(5),

(6). The SDS must include, among other things, information covering handling and storage,




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accidental release measures, and the chemical’s stability and reactivity, including whether the

chemical will react or polymerize in various conditions. Id. § 1920.1200(g)(2).

       70.     The vinyl chloride SDS that Oxy Vinyls provided to Norfolk Southern

described the above risks, noting that vinyl chloride “MAY MASS EXPLODE IN FIRE.

EXTREMELY FLAMMABLE GAS. CONTAINS GAS UNDER PRESSURE, MAY

EXPLODE IF HEATED. POLYMERIZATION CAN OCCUR.” See Oxy Vinyls, Vinyl

Chloride (Monomer) Safety Data Sheet, 2 (Nov. 30, 2020).

       71.     Further, Oxy Vinyls’ SDS warned that vinyl chloride “[r]equires stabilizer to

prevent potential dangerous polymerization.” Id. The SDS warns about hazardous

polymerization and notes: “Exposure to the following conditions or mixtures with the

following elements and materials can cause explosive or violent polymerization of VCM: Air,

Sunlight, Excessive heat, Oxidizers, Catalytic metals, such as copper, aluminum and their

alloys and certain catalytic impurities. Avoid elevated temperatures, oxidizing agents, oxides

of nitrogen, oxygen, peroxides, other polymerization catalysts/initiators, air and sunlight.” Id.

at 10 (emphasis added).

       72.     The SDS also warns of incompatible substances, listing “aluminum” and

“aluminum alloys,” and noting: “Explosive or violent polymerization can occur when

exposed to air, sunlight, or excessive heat if not properly stabilized. Polymerizes

exothermically in the presence of light, air, oxygen, or catalyst. Reacts with the following

incompatible materials and create a strong exothermic reaction: oxygen, moisture,

polymerization additives, copper, aluminum….” Id.

       73.     In the case of a railcar fire, the SDS warns to “[l]et burn unless leak can be

stopped immediately.” Id. at 6.

       74.     Oxy Vinyls has acknowledged that its SDS for vinyl chloride contained this

information.




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        75.     The information on vinyl chloride in Oxy Vinyls’ SDS also matches Norfolk

Southern’s own emergency safety guidance for vinyl chloride, which notes that the chemical

“[p]olymerizes in air, sunlight, or heat unless stabilized by inhibitors such as phenol”;

“[r]eacts with copper, aluminum….” Norfolk Southern Corp., Emergency Safety Guide, Vinyl

Chloride Division 2.1 (Flammable Gas), 1 (Sept. 2006). The guidance also warns that

exposure of vinyl chloride containers “to fire or heat may result in violent polymerization”

and that “[e]xcessive heat, light, or air may cause spontaneous violent polymerization

resulting in container rupture.” Id. at 2.

        76.     Lastly, the U.S. Department of Transportation’s Emergency Response

Guidebook (“ERG 2020”), which is intended for use by first responders during hazardous

materials incidents, designates vinyl chloride as a chemical capable of explosively

polymerizing when heated or involved in fire.

        F.      The Derailment Response

        77.     On February 3, 2023, at 8:56 p.m. local time, minutes after the critical alarm

sounded in the engineer cabin, the train crew on Train 32N contacted local dispatchers and

the Norfolk Southern Wayside Help Desk regarding an emergency and possible derailment.

        78.     Local first responders arrived on scene by 9:00 p.m. local time and began

responding to small spreading pool fires. Within the hour, East Palestine dispatch requested

hazardous material (“hazmat”) support, additional responders, and emergency responders

from Columbiana County, Ohio, and Beaver County, Pennsylvania.

        79.     By midnight, a Unified Command team was formed comprised of local first

responders and personnel from the Ohio Environmental Protection Agency, Pennsylvania

Department of Environmental Protection, Norfolk Southern Hazmat Team, Pennsylvania

State Police, Beaver County Hazmat Response Team, U.S. Environmental Protection

Agency, Ohio Emergency Management Agency, and Ohio and Pennsylvania state officials.




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         80.    In the initial hours after the derailment, local firefighters responded to small

spreading fires and the Unified Command team monitored the derailed tank cars. Over time,

the fires grew into hot, active fires that surrounded the derailed railcars.

         81.    Shortly after midnight, on February 4, 2023, the PRDs on the vinyl chloride

tank cars began activating and releasing pressure in a cycle of thirty seconds on (releasing)

and two minutes off.

         82.    Because of the surrounding pool fires, the flammable gas venting from the

PRDs ignited, which upon information and belief began to melt part or all of the tank car

liquid transfer valves and fittings.

         83.    Midland Manufacturing Corporation, which manufactured the PRDs, only

tests PRDs with air. They are not tested to ensure their ability to withstand flame, heat, or

corrosion from materials that can be expelled when the PRD activates.

         84.    The PRDs continued to vent through the early morning hours of February 4,

2023, cycling between venting and pausing for approximately twelve hours.

         85.    As the PRDs continued to vent, on-site responders, which included hazmat

and tank derailment specialists, began assessing the damage to the tank cars to plan for next

steps.

         86.    Following a tank car derailment and fire, responders typically have four

options: First, responders can re-rail the tank car and move it to the next destination if they

determine there is no tank damage. Second, if the tank car is damaged and cannot be safely

re-railed and moved, responders can transfer the product from the tank car using the transfer

valves. This method requires working valves and access to the cars for a prolonged period of

time. Third, responders can transfer the product via “hot tapping,” a procedure that involves

welding a transfer valve onto the tank, drilling a hole in the tank, and transferring the

remaining liquid product through the hole. This third option carries significant risks, because




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the welder might accidentally weld and drill into a gaseous space, rather than into the liquid;

this can ignite the tank car and cause a BLEVE. Further, if the tank car’s structural integrity

is compromised, welding can cause cracking in the still-pressurized tank car, which can also

cause a BLEVE. Hot tapping also requires prolonged exposure to a tank car that may be

experiencing increased pressurization and BLEVE conditions. The fourth option, and the last

resort, is to conduct a controlled “vent and burn.” During a vent and burn, responders place a

series of explosive charges on the tank cars, which detonate and puncture holes at the top and

bottom of the car to burn off pressurized gas (from the top) and expel liquid (from the

bottom) in a controlled manner. Although a last resort option, a vent and burn is the safest

option when the other strategies are infeasible or carry too high a risk of loss of life.

       87.     After venting vinyl chloride for approximately twelve hours, the PRDs

stopped venting in the early afternoon of Saturday, February 4, 2023. By that same afternoon,

the pool fires at the derailment site began to die down.

       88.     At that point, responders sent in two “assess and entry” teams to the east and

west ends of the derailment site to monitor the potential pressure conditions of the vinyl

chloride tank cars. Because of the damage to the tank cars, responders concluded they were

not able to re-rail the tank cars. They further determined that product transfer was not viable

because the seals and gaskets within the transfer valves were damaged by heat. Therefore,

responders began assessing the cars to implement a hot-tap option.

       89.     As responders were monitoring that afternoon, the PRD on Car 28 activated

again and began to continuously vent gas for approximately 70 minutes. The pressure relief

was described by a hazmat specialist as akin to a violent and sudden roar of fury following

two hours of calm. It scared responders with decades of experience handling hazmat

derailment responses. Specifically, responders were concerned that pressure and heat were

building inside the Car 28 tank, even though the pool fire under Car 28 and surrounding pool




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fires had extinguished hours ago, indicating that the rising heat was from an internal process

and not the external fires.

       90.     The next day, on February 5, 2023, responders went into the derailment zone

to assess the vinyl chloride tank cars, where they found that the tank shell on Car 53 was

exposed due to jacket damage. They were able to get alongside the tank car, but did not hear

any audible hiss from the protective housing, liquid lines, vapor lines, or PRD, and reported a

negative reading on their meter testing for volatile organic compounds. This indicated to

responders that the tank car was not leaking or releasing any gas.

       91.     Responders also touched the tank shell inside the jacket of Car 53 and found

that the tank was hot, even though surrounding pool fires had died down hours before. Using

a thermal imaging camera, responders recorded a temperature of 135°F through a small

opening in the jacket, followed by a temperature of 138°F one hour later. Again, responders

became concerned that the tank temperature and pressure were rising without external

stimulus.

       92.     Responders attempted to record the temperatures on the other vinyl chloride

tank cars. Where possible, assess and entry teams were able to record temperatures of around

65°F. However, because responders were only able to obtain temperature readings with the

thermal imaging cameras through small holes in the jacket without verifying the readings

were measuring the temperature of the tank itself—as opposed to the outer jacket—

responders discounted the accuracy of these temperature readings.

       93.     The elevated temperature on Car 53 and sudden extended venting from Car 28

without a pool fire underneath it caused responders to become concerned about the potential

for a catastrophic explosion.

       94.     According to chemical industry groups, the temperature of a tank of vinyl

chloride measuring “above ambient temperature may imply that the [vinyl chloride] is




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polymerizing inside the tank car.” The Chlorine Institute & The Vinyl Institute, Pamphlet

171, Vinyl Chloride Monomer (VCM) Tank Car & Cargo Tank Handling Manual, at 36.

Furthermore, vinyl chloride polymerization is a form of living polymerization and is an

exothermic (heat-releasing) process. The rate of polymerization can accelerate thereby

generating more heat in a closed-loop system that cycles and can become uncontrollable.

Indeed, a key component of controlled vinyl chloride polymerization in the production of

PVC is the removal of heat through effective thermal management of the process.

       95.     The pause in the PRD venting and the inspection of Car 53 indicated to

Unified Command that polymerization may have blocked the PRDs on Car 28 and the other

vinyl chloride tank cars. Based on guidance from Oxy Vinyls, responders understood that a

tank car temperature of 185°F could lead to runaway polymerization and explosion.

       96.     Due to the re-activation of the PRD on Car 28 and the unknown liquid levels

in the remaining tank cars, hot tapping the cars was considered too high a risk to the welders,

who could inadvertently ignite the tank car if they struck gas, would be unable to transfer the

product if the tank contained polymer, and could risk reigniting the pool fires throughout the

derailment site.

       97.     Responders spoke to the on-site representative of Oxy Vinyls—the vinyl

chloride manufacturer—who commented that the rising temperature could indicate that

polymerization was occurring. Responders also spoke with a support team operating out of

the Oxy Vinyls corporate office in Dallas, Texas, which explained its belief that there was a

low probability of polymerization and that the PRD was likely responding to other conditions

or had a mechanical malfunction.

       98.         On a subsequent call, an Oxy Vinyls senior vice president of manufacturing

who was not on the scene stated that polymerization was not occurring. The Dallas team also

concluded that at least three of the vinyl chloride tank cars were nearly empty. This




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determination was made based in part on temperature readings that responders considered

inaccurate.

       99.     Responders attempted to collect further tank car measurements. While they

continued collecting potential readings through the small holes in the jackets, responders

were unable to collect internal tank pressure measurements due to the compromised valve

assemblies and risk of placing personnel alongside dangerously unstable tank cars.

       100.    On the evening of February 5, 2023, responders reported to Unified Command

that the temperature trends and dangerous conditions for hot tapping led hazmat specialists to

believe that a vent and burn would be the safest option. Responders were also concerned

about polymerization, although polymerization was not the only reason that a vent and burn

was considered the safest option.

       101.    On the morning of February 6, 2023, Unified Command met to discuss

strategies to relieve the pressure in the five vinyl chloride tanks and avoid a catastrophic

uncontrolled explosion. By approximately noon, Unified Command agreed that a vent and

burn of all five vinyl chloride tank cars—Cars 26, 27, 28, 29, and 53—should occur. As

noted, Unified Command included the U.S. Environmental Protection Agency, National

Guard, Ohio state agencies, Pennsylvania state agencies, and local first responders.

       102.    At approximately 4:37 p.m. local time on February 6, 2023, Unified

Command provided by radio the official green light to execute the vent and burn, and the

response team detonated controlled explosives on the five vinyl chloride tank cars—Cars 26,

27, 28, 29, and 53.

       103.    The released vinyl chloride burned through the night of February 6, 2023.

       104.    During the vent and burn, video footage reportedly identified pure polymer,

indicating a polymerization reaction, releasing from two of the vinyl chloride tank cars.




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       105.    Additionally, the PRDs on Car 28—on which the PRD re-activated—and Car

53—which had a recorded temperature of 138°F—were found to be corroded. According to

the PRD manufacturer, Midland Manufacturing Corporation, these PRDs are not tested for

fire conditions.

       106.    The vent and burn was executed effectively and resulted in no casualties.

       G.      Railroad Regulation and Industry Standards

       107.    The railroad industry is regulated through a combination of federal laws,

regulations, and industry standards set by the Association of American Railroads (“AAR”).

Norfolk Southern, as a Class I freight railroad, is a member of the AAR.

       108.    Rail transportation of hazardous materials is regulated under Title 49, subtitle

B, chapter 1, subpart C. These regulations divide obligations for hazardous materials

transportation among shippers, railroads, and car owners. See, e.g., 49 C.F.R. §§ 173

(detailing shipper responsibilities), 174 (detailing railroad responsibilities), 180 (detailing car

owner responsibilities).

       109.    Alongside federal regulations, the AAR publishes rules and standards for the

design, operation, maintenance, inspection, and repair of railcars and their components.

Among these are the Manual of Standards and Recommended Practices (“MSRP”) and the

Interchange Rules. These rules set the standards for the movement of railcars and the safety

and interoperability of railcar equipment. All freight railroads, interchange freight car owners,

and repair agents must subscribe to the Interchange Rules.

       110.    The Interchange Rules also divide and assign responsibilities for maintenance

and inspection in rail transportation between car owners, railroads, and other entities. For

example, the Interchange Rules establish that car owners are responsible for and chargeable

for repairs to their railcars necessitated by wear and tear.




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        H.     Car 23 Was Improperly Maintained

        111.   Car 23, which derailed first, was a hopper car owned by General American

Marks Company.

        112.   The bearing on Car 23 was manufactured by the Timken Company. Timken’s

Bearing Install Manual states that “[c]ars, coaches, and locomotives equipped with roller

bearings that remain stationary should be moved one car length every six months to distribute

lubricant over the bearing surfaces.” Timken, Installing and Maintaining Timken AP and AP-

2 Bearings, Diesel Locomotive, Passenger and Freight Car Applications, 25 (2015).

        113.   Industry practice is to prevent railcars from sitting stationary for long periods

because grease separation may occur, which reduces the amount of lubrication around the

bearings and may impact functionality.

        114.   Car 23 operated out of the Gulf States, with shipments from New Orleans and

other locations along the Gulf Coast.

        115.   According to car movement data, Car 23 had few shipments and low mileage

over the prior decade.

        116.   Upon information and belief, Car 23 was twice stationary for longer than six

months: first for 565 days ending in August 2018 and again for 206 days ending in May

2019.

        117.   When a bearing sits for extended periods of time, especially in heat, rain, or

extreme weather, the grease in the bearing can separate and degrade the bearing. Water

damage—such as that caused by sitting in heavy rain, hurricanes, or flooding—can cause

friction and quickly degrade the bearing.

        118.   Under the AAR Interchange Rules, car owners must inspect and, if necessary,

repair or replace railcars or components at any time after the car is partially or fully

submerged in water.




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          119.   Due to the construction of the bearings and where they are installed inside the

wheelset, the full condition of the bearings cannot be inspected by the railroad without

disassembling the bearings from the wheelset.

          I.     Third-Party Defendant Railcar Owners Are Responsible for the
                 Compliance and Maintenance of Railcars Carrying Chemicals

          120.   CERCLA’s broad scope imposes strict liability on potentially responsible

parties for response costs related to the release of a hazardous substance at a facility. 42

U.S.C. § 9607(a).

          121.   “Response” includes “the cleanup or removal of released hazardous

substances from the environment.” 42 U.S.C. § 9601(23), (25).

          122.   “Release” means “any spilling, leaking, pumping, pouring, emitting,

emptying, discharging, injecting, escaping, leaching, dumping, or disposing into the

environment.” 42 U.S.C. § 9601(22).

          123.   “Hazardous substance” means any substance designated as hazardous under

any of several federal environmental statutes. 42 U.S.C. § 9601(14).

          124.   “Facility” means “any building, structure, installation, equipment, pipe or

pipeline (including any pipe into a sewer or publicly owned treatment works), well, pit, pond,

lagoon, impoundment, ditch, landfill, storage container, motor vehicle, rolling stock, or

aircraft” or “any site or area where a hazardous substance has been deposited, stored,

disposed of, or placed, or otherwise come to be located.” 42 U.S.C. § 9601(9).

          125.   Potentially responsible parties under CERCLA include “any person who at the

time of disposal of any hazardous substance owned or operated” the facility. 42 U.S.C.

§ 9607(a)(2).

          126.   The “operator” of a facility includes “someone who directs the workings of,

manages, or conducts the affairs of a facility.” United States v. Bestfoods, 524 U.S. 51, 66

(1998).



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       127.    Railcar owners are operators under CERCLA because they direct the workings

of, manage, and conduct the affairs of rolling stock, including tank cars carrying hazardous

materials. United States v. Twp. of Brighton, 153 F.3d 307, 314 (6th Cir. 1998).

       128.    Railcar owners are responsible for a variety of compliance and maintenance

measures for tank cars that carry hazardous materials. For example, railcar owners are

responsible for the certification, qualification, compliance, and maintenance of railcars and

components, such as the thermal protection system, PRDs, and valves. See, e.g., 49 C.F.R.

§§ 180.501 (general applicability), 180.507 (qualification requirements), 180.509 (inspection

requirements), 180.517 (reporting requirements).

       129.    Under the AAR Interchange Rules, railcar manufacturers must have the

construction and design of railcars used for hazardous materials transportation approved. The

valves, fittings, PRDs, and other car components must also receive standalone approval.

       130.    This industry rule is incorporated by 49 C.F.R. § 179.3, pursuant to which the

United States Department of Transportation assigns to AAR the authority to approve design,

materials, construction, conversion, and modification of tank cars in accordance with the

AAR MSRP Specification for Tank Cars and the federal regulatory specifications.

       131.    Any changes to the tank car design or components must also be approved. See

49 C.F.R. § 179.6. This additional certification is required to ensure that changes to tank cars

do not render them unsafe for transportation of hazardous materials.

       132.    Here, there were multiple discrepancies, identified by the Federal Railroad

Administration, between the approved documents and the actual physical characteristics of

the vinyl chloride tank cars on Train 32N.

           a. Trinity Industries Leasing Company’s Car 26 has discrepancies between its

               AAR 4-2 certificate of construction and the tank car’s actual characteristics.




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            b. For GATX Corporation’s Car 29, the tank car valve was replaced with a

                Midland 720 valve without approval. Additionally, this Car’s PRD, which had

                a 225 psi start, was replaced without approval with a PRD with a 247.5 psi

                start. Finally, according to the Federal Railroad Administration, Car 29 was

                never approved for vinyl chloride service, which has a special regulatory

                provision.

            c. All three vinyl chloride tank cars owned by Oxy Vinyls—Cars 27, 28, and

                53—have missing or incorrect information on their AAR Form 4-2. For

                example, Car 27 has modifications that were not properly documented or

                approved, including changes to two component parts that modified the

                material from carbon steel to stainless steel.

        133.    Following the approved construction of a tank car, the builder must furnish a

Certificate of Construction to the tank car owner certifying that the tank, equipment, and car

fully conform to the regulations. See 49 C.F.R. § 179.5(a).

        134.    The owners of tank cars carrying hazardous materials are required to continue

this certification process. Tank cars marketed as a “DOT” specification—like the DOT-111

or DOT-105—must meet all regulatory requirements for tank car specifications, and each

owner “must retain the certificate of construction (AAR Form 4-2) and related papers

certifying that the manufacture of the specification tank car identified in the documents is in

accordance with the applicable specification.” 49 C.F.R. §§ 180.507, 180.517.

        135.    Additionally, DOT specification tank car owners are responsible for the

inspection, testing, and requalification of the tank car’s structural integrity, thickness, internal

coating or lining, leakage under pressure, and service equipment like PRDs, at set temporal

intervals. See 49 C.F.R. § 180.509 et seq.




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       136.    These areas of responsibility—the certification, qualification, compliance, and

maintenance—all dictate tank car operations related to the transport of hazardous materials

and are the sole domain of car owners.

       137.    Railroads have discrete inspection duties and rely on the work of tank car

owners to ensure that compliant tank cars are used for safe transport. For example, the

railroads are required by federal regulation to inspect each railcar “visually” and “at ground

level,” but do not climb up on tank cars to inspect PRDs. 49 C.F.R. §§ 174.9(a), 174.9(b).

While railroads are required to receive shippers’ certifications and shipping papers for

hazardous materials shipment, railroads are not responsible for the certified design, building,

conversion, testing, modification, and requalification of tank cars.

       138.    It is this certified design, building, conversion, testing, modification, and

requalification of hazardous materials tank cars that ensures that tank cars containing

flammable chemicals can be safely transported.

       J.      The Third-Party Defendant Shipper is Responsible for the Compliance
               and Maintenance of Railcars

       139.    Chemical shippers are also “operators” under CERCLA because they direct

the workings of, manage, and conduct the affairs of rolling stock, including tank cars carrying

chemicals. Bestfoods, 524 U.S. at 66.

       140.    Shippers control tank cars carrying chemicals by exercising control over the

cars’ environmental compliance in a manner that directly prevents—or permits—a release of

hazardous substances.

       141.    Shippers are responsible for a variety of compliance and maintenance

measures for hazardous tank cars. See generally 49 C.F.R. § 173.1 et seq.

       142.    For example, shippers are responsible for the proper loading and labeling of

the tank car, which includes federal certification of the proper packaging of the commodity

and placement of tank car placards. See 49 C.F.R. §§ 173.31, 172.508.



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       143.    For vinyl chloride, shippers must ensure it is properly mixed with inhibitors or

otherwise stabilized to prevent negative effects like violent polymerization. Shippers use a

chemical inhibitor to prevent polymerization and/or purge the tank of oxygen with nitrogen

prior to filling the tank so oxygen levels are below 200 parts per million.

       144.    Oxy Vinyls has stated that it used oxygen purging to stabilize the vinyl

chloride for shipment.

       145.    As discussed, by federal regulation, chemical manufacturers and importers

must also develop an SDS for each hazardous chemical they produce or import that identifies,

among other items, accidental release measures, stability and reactivity, and fire-fighting

measures. See 29 C.F.R. § 1910.1200(g).

       146.    The vinyl chloride SDS prepared by Oxy Vinyls and provided to Norfolk

Southern warned of the risks of polymerization, noting in twelve instances some variation of

the warning that vinyl chloride “MAY EXPLODE IF HEATED. POLYMERIZATION CAN

OCCUR” if the vinyl chloride is exposed to “air, sunlight, excessive heat” and/or “Catalytic

metals, such as copper, aluminum, and their alloys.” Oxy Vinyls, Vinyl Chloride (Monomer)

Safety Data Sheet at 2, 10.

       147.    Upon information and belief, in the aftermath of the derailment and vent and

burn, aluminum and copper were found in the vinyl chloride tank cars:

           a. Car 26 had aluminum found in samples of the interior surface of the manway

               nozzle and aluminum coating on the PRD springs.

           b. Car 27, which had been fitted with a protective housing cover made of

               aluminum that was missing or destroyed, had aluminum in the exterior surface

               of the PRD spring in the top guide discharge port of the PRD. Additionally,

               Car 27 had an aluminum angle valve handwheel, and melted aluminum was

               found around the base of one of the liquid discharge valves.




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           c. Car 28 had aluminum angle valve handwheels and had been fitted with a

               protective housing cover made of aluminum that was missing or destroyed.

               Further, aluminum was found in a sample taken from the interior surface of

               the manway nozzle, top fitting of the protective housing, and around the base

               of both liquid valves.

           d. Car 29, which had been fitted with a protective housing cover made of

               aluminum that was missing or destroyed, had aluminum found in exterior

               debris of the protective housing and housing cover on the tank car, as well as a

               residue sample containing copper inside the tank next to a vent and burn

               breaching hole. Further, Car 29’s angle valves were covered in solidified

               melted aluminum after the derailment, and its angle valve handwheels were

               missing.

           e. Car 53 had angle valve handwheels constructed from aluminum.

       148.    By federal regulation, chemical shippers like Oxy Vinyls are also responsible

for their chemicals’ shipping certification. Shippers may not offer a hazardous material for

transportation without a determination “that the tank car is in proper condition and safe for

transportation,” which requires at minimum a visual inspection of the tank, thermal protection

system, valves, and PRDs. 49 C.F.R. § 173.31(d).

       149.    Shippers cannot offer a hazardous material for transportation in a tank car

unless that tank car meets the applicable specification and packaging requirements, including

the approved certificate of construction. 49 C.F.R. § 173.31(a). Shippers must ensure that

hazardous materials are in containers that have been manufactured, assembled, and marked in

accordance with various regulations, including AAR tank construction requirements under 49

C.F.R. part 179, 49 C.F.R. § 173.22.




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       150.       As described above, Oxy Vinyls offered the five vinyl chloride tank cars for

shipment without complete approvals and certifications.

       151.       Ultimately, it is the shipper that is responsible for ensuring that the equipment

used is compatible with the lading and can safely contain the commodity.

       152.       While railroads like Norfolk Southern must also inspect the tank cars from the

ground, ensure proper shipping papers, and perform other duties related to rail movement,

railroads rely on the accurate federal approvals and certifications of shippers that the

equipment and lading are compatible.

       153.       When an incident occurs, as it did on February 3, 2023, railroads like Norfolk

Southern rely on the accurate representations of shippers during the response.

       K.         Norfolk Southern Has Incurred Response Costs Before and Pursuant to
                  an EPA Unilateral Administrative Order

       154.       Following the derailment, the U.S. Environmental Protection Agency (“EPA”)

mobilized to the derailment site in East Palestine, Ohio, along with various federal, state, and

local agencies.

       155.       On February 21, 2023, EPA determined that the derailment site posed an

imminent and substantial threat to human health and the environment and issued a Unilateral

Administrative Order to Norfolk Southern under Section 106(a) of CERCLA, 42 U.S.C.

§ 9606(a).

       156.       EPA’s Unilateral Administrative Order required Norfolk Southern to

implement specific response activities, and incur all associated costs, related to air monitoring

and sampling, the identification and delineation of contamination, the containment and

remediation of contaminated areas, the removal and disposal of hazardous substances, and

additional actions needed to prevent imminent and substantial endangerment to public health

or the environment.




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        157.    Norfolk Southern has incurred and will incur substantial response costs related

to the release of substances resulting from the derailment, pool fires, vent and burn, and

firefighting efforts.

        158.    In addition, the United States and State of Ohio have brought claims under

CERCLA seeking reimbursement of their response costs.

        159.    Norfolk Southern has paid millions of dollars and will continue to pay for the

comprehensive environmental response in East Palestine. Norfolk Southern is committed to

making it right in East Palestine and the surrounding communities. It brings this action to

ensure that every responsible party contributes its proper share under federal and state law.

                                   CLAIMS FOR RELIEF

                                        COUNT ONE

      CERCLA Recovery of Response Costs Against Railcar Owner Defendants
  (Oxy Vinyls, GATX Corporation, Trinity Industries Leasing Company, SMBC Rail
     Services LLC, Dow Chemical Incorporated, and Union Tank Car Company)

        160.    The allegations in paragraphs 1 through 159 above are incorporated by

reference.

        161.    Under CERCLA, potentially responsible parties are liable for a “release” or

“threatened release” of a “hazardous substance” from a “facility” that causes necessary

response costs consistent with the National Contingency Plan. See 42 U.S.C. § 9607(a).

        162.    Potentially responsible parties include the present “owner and operator” of the

facility, along with “any person who at the time of disposal of any hazardous substance

owned or operated” the facility. 42 U.S.C. § 9607(a).

        163.    Railcar Owner Defendants are “persons” within the meaning of Section

101(21) of CERCLA, 42 U.S.C. § 9601(21).

        164.    Railcar Owner Defendants are persons liable under Section 107(a)(2) of

CERCLA, 42 U.S.C. § 9607(a)(2):




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        a. Trinity Industries Leasing Company owned and was responsible for the

           maintenance and condition of Car 26, which released vinyl chloride.

        b. Oxy Vinyls owned and was responsible for the maintenance and condition of

           Car 27, Car 28, and Car 53, which released vinyl chloride.

        c. GATX Corporation owned and was responsible for the maintenance and

           condition of Car 29, which released vinyl chloride.

        d. SMBC Rail Services LLC owned and was responsible for the maintenance and

           condition of Car 34, which released ethylene glycol monobutyl ether.

        e. Dow Chemical Incorporated owned and was responsible for the maintenance

           and condition of Car 36, which released 2-ethyl hexyl acrylate.

        f. Union Tank Car Company owned and was responsible for the maintenance

           and condition of Car 48, which released butyl acrylates.

        g. Railcar owners are “owner[s] or operator[s]” under Section 101(20) of

           CERCLA, 42 U.S.C. § 9601(20), as the owners of an “onshore facility.” The

           term “onshore facility,” as defined in Section 101(18) of CERCLA, 42 U.S.C.

           § 9601(18), includes “rolling stock … of any kind located in, on, or under, any

           land … within the United States.”

        h. Railcar owners directly control the inspection, maintenance, and repair of

           rolling stock like railcars and their safety features. These features must comply

           with environmental and safety regulations covering the safe storage and

           transport of chemicals in tank cars.

        i. Vinyl chloride is a “hazardous substance” as defined in Section 101(14) of

           CERCLA, 42 U.S.C. § 9601(14), and as defined in regulation under 40 C.F.R.

           § 302.4.




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           j. Ethylene glycol monobutyl ether (also known as 2-Butoxy Ethanol) is a

               “hazardous substance” as defined in Section 101(14) of CERCLA, 42 U.S.C.

               § 9601(14), and as defined by regulation under 40 C.F.R. § 302.4.

           k. 2-ethyl hexyl acrylate is a “hazardous substance” as defined in Section

               101(14) of CERCLA, 42 U.S.C. § 9601(14), and as defined by regulation

               under 40 C.F.R. § 302.4.

           l. Butyl acrylates is a “hazardous substance” as defined in Section 101(14) of

               CERCLA, 42 U.S.C. § 9601(14), and as defined by regulation under 40 C.F.R.

               § 302.4.

           m. A “release” occurred as defined in Section 101(22) of CERCLA, 42 U.S.C.

               § 9601(22), when the derailment, fires, and/or the controlled vent and burn

               caused the “spilling, leaking, pumping, pouring, emitting, emptying,

               discharging, injecting, escaping, leaching, dumping, or disposing into the

               environment” of hazardous substances, including vinyl chloride, ethylene

               glycol monobutyl ether, 2-ethyl hexyl acrylate, and butyl acrylates.

       165.    Norfolk Southern has incurred response costs well in excess of $1 million or

an amount according to proof at trial for work performed responding to the release of

hazardous substances and will incur additional response costs in the future.

       166.    The costs incurred by Norfolk Southern related to the February 3, 2023,

derailment site in East Palestine, Ohio, that it seeks to recover here constitute necessary costs

of response, as defined in Section 101(25) of CERCLA, 42 U.S.C. § 9601(25), and are

consistent with the National Contingency Plan, 40 C.F.R. Part 300, within the meaning of

Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).




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       167.     Norfolk Southern’s costs incurred prior to the issuance of the Unilateral

Administrative Order that it seeks to recover here were necessary and consistent with the

National Contingency Plan under 40 C.F.R. Part 300.

       168.     Norfolk Southern’s costs incurred in compliance with the Unilateral

Administrative Order that it seeks to recover here were necessary and consistent with both the

Order and with the National Contingency Plan under 40 C.F.R. Part 300.

       169.     The Third-Party Defendants have not contributed to any of the response costs

to address the February 3, 2023, derailment site in East Palestine, Ohio, and resulting release

of hazardous substances.

                                         COUNT TWO

   CERCLA Recovery of Response Costs Against Vinyl Chloride Shipper Defendant
                                (Oxy Vinyls)

       170.     The allegations in paragraphs 1 through 169 above are incorporated by

reference.

       171.     Oxy Vinyls is a “person” within the meaning of Section 101(21) of CERCLA,

42 U.S.C. § 9601(21).

       172.     Oxy Vinyls is a person liable under Section 107(a)(2) of CERCLA, 42 U.S.C.

§ 9607(a)(2):

             a. Oxy Vinyls shipped the vinyl chloride in Cars 26, 27, 28, 29, and 53.

             b. A railcar shipper is an “owner or operator” under Section 101(20) of

                CERCLA, 42 U.S.C. § 9601(20) when it directs the workings of and manages

                or conducts the affairs of an “onshore facility.”

             c. The term “onshore facility,” as defined in Section 101(18) of CERCLA, 42

                U.S.C. § 9601(18), includes “rolling stock . . . of any kind located in, on, or

                under, any land . . . within the United States.”




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        d. As shipper, Oxy Vinyls was responsible for the maintenance and

           environmental compliance of the loading and packaging of rolling stock tank

           cars carrying hazardous substances.

        e. Oxy Vinyls prepared a federally required certification attesting to the tank

           cars’ proper packaging and tank build compliance, and filed with Norfolk

           Southern an SDS describing the safety risks and proper handling of vinyl

           chloride.

        f. This SDS stated that vinyl chloride can violently polymerize and “MAY

           MASS EXPLODE IN FIRE. EXTREMELY FLAMMABLE GAS.

           CONTAINS GAS UNDER PRESSURE, MAY EXPLODE IF HEATED.

           POLYMERIZATION CAN OCCUR.” Oxy Vinyls, Vinyl Chloride

           (Monomer) Safety Data Sheet, at 2.

        g. Due to the risks of a catastrophic BLEVE indicated by Oxy Vinyls’ SDS, the

           Unified Command response team executed a controlled vent and burn that

           released vinyl chloride from Cars 26, 27, 28, 29, and 53.

        h. Vinyl chloride is a “hazardous substance” as defined in Section 101(14) of

           CERCLA, 42 U.S.C. § 9601(14), and as defined in regulation under 40 C.F.R.

           § 302.4.

        i. A “release” occurred as defined in Section 101(22) of CERCLA, 42 U.S.C.

           § 9601(22), when the derailment, pool fires, and venting and burning of vinyl

           chloride in Cars 26, 27, 28, 29 and 53 caused “spilling, leaking, pumping,

           pouring, emitting, emptying, discharging, injecting, escaping, leaching,

           dumping, or disposing into the environment” of the hazardous substance vinyl

           chloride.




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       173.    Norfolk Southern has incurred response costs well in excess of $1 million or

an amount according to proof at trial for work performed responding to the release of

hazardous substances and will incur additional response costs in the future.

       174.    The costs incurred by Norfolk Southern related to the February 3, 2023,

derailment site in East Palestine, Ohio, that it seeks to recover here constitute necessary costs

of response, as defined in Section 101(25) of CERCLA, 42 U.S.C. § 9601(25), and are

consistent with the National Contingency Plan, 40 C.F.R. Part 300, within the meaning of

Section 107(a) of CERCLA, 42 U.S.C. § 9607(a).

       175.    Norfolk Southern’s costs prior to the issuance of the Unilateral Administrative

Order that it seeks to recover here were necessary and consistent with the National

Contingency Plan under 40 C.F.R. Part 300.

       176.    Norfolk Southern’s costs incurred pursuant to the Unilateral Administrative

Order that it seeks to recover here were necessary and consistent with both the Order and

with the National Contingency Plan under 40 C.F.R. Part 300.

       177.    Oxy Vinyls has not contributed to any of the response costs to address the

February 3, 2023, derailment site in East Palestine, Ohio, and resulting release of hazardous

substances.

                                       COUNT THREE

              CERCLA Contribution Against Railcar Owner Defendants
  (Oxy Vinyls, GATX Corporation, Trinity Industries Leasing Company, SMBC Rail
     Services LLC, Dow Chemical Incorporated, and Union Tank Car Company)

       178.    The allegations in paragraphs 1 through 177 above are incorporated by

reference.

       179.    Norfolk Southern has paid and will pay more than its equitable share of costs

consistent with the National Contingency Plan, 40 C.F.R. Part 300, resulting from the release

at the February 3, 2023, derailment site.




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       180.     Under Sections 113(f)(1) and 113(f)(3)(B) of CERCLA, 42 U.S.C.

§ 9613(f)(1), (f)(3)(B), Norfolk Southern is entitled to contribution from Railcar Owner

Defendants for their equitable share of these costs.

       181.     Accordingly, Norfolk Southern seeks contribution for an equitable share of

these costs from Railcar Owner Defendants.

                                         COUNT FOUR

             CERCLA Contribution Against Vinyl Chloride Shipper Defendant
                                   (Oxy Vinyls)

       182.     The allegations in paragraphs 1 through 181 above are incorporated by

reference.

       183.     Norfolk Southern has paid and will pay more than its equitable share of costs

consistent with the National Contingency Plan, 40 C.F.R. Part 300, resulting from the release

at the February 3, 2023, derailment site.

       184.     Under Section 113(f)(1) of CERCLA, 42 U.S.C. § 9613(f)(1), Norfolk

Southern is entitled to contribution from Oxy Vinyls for its equitable share of these costs as a

chemical shipper and railcar operator.

       185.     Accordingly, Norfolk Southern seeks contribution for an equitable share of

these costs from Oxy Vinyls.

                                         COUNT FIVE

                          CERCLA Declaratory Relief
  (Oxy Vinyls, GATX Corporation, Trinity Industries Leasing Company, SMBC Rail
     Services LLC, Dow Chemical Incorporated, and Union Tank Car Company)

       186.     The allegations in paragraphs 1 through 185 above are incorporated by

reference.

       187.     Under Section 113(g) of CERCLA, 42 U.S.C. § 9613(g)(2)(B), a court “shall

enter a declaratory judgment on liability for response costs or damages that will be binding

on any subsequent action or actions to recover further response costs or damages.”



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       188.    Norfolk Southern is entitled to a declaratory judgment that Third-Party

Defendants are liable for any further response costs Norfolk Southern incurs.

                                         COUNT SIX

               Negligence Against Certain Railcar Owner Defendants
      (Oxy Vinyls, GATX Corporation, and Trinity Industries Leasing Company)

       189.    The allegations in paragraphs 1 through 188 above are incorporated by

reference.

       190.    In owning and maintaining rolling stock transported by Norfolk Southern, the

Third-Party Defendants were obligated to exercise care for the safety of individuals and

entities whose persons or property were within reasonable proximity to the rail line, Norfolk

Southern’s employees and its property, and the environment.

       191.    In ensuring the certified design, building, conversion, testing, modification,

and requalification of hazardous materials tank cars that ensures that tank cars containing

chemicals can be safely transported, Third-Party Defendants Oxy Vinyls, GATX

Corporation, and Trinity Industries Leasing Company were obligated to exercise reasonable

and ordinary care, and/or that degree of care that a similarly situated railcar owner would use

under the same or similar circumstances.

       192.    Third-Party Defendants failed to exercise ordinary care by failing to properly

certify the design, building, conversion, testing, modification, and requalification of

hazardous materials tank cars and their components. By federal regulation, car owners must

receive approval for the car construction and any design or component change. 49 C.F.R. §§

179.3, 179.6. Car owners must continually certify this approval. 49 C.F.R. §§ 180.507,

180.517.

       193.    Each car carrying vinyl chloride had discrepancies between its federal certified

and approved certificate of construction and the tank car’s actual characteristics:




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             a. Trinity Industries Leasing Company’s Car 26 has discrepancies between its

                AAR 4-2 certificate of construction and the tank car’s actual characteristics.

             b. For GATX Corporation’s Car 29, the tank car valve was replaced with a

                Midland 720 valve without approval. Additionally, this Car’s PRD was

                replaced from a PRD with a 125 psi start to a PRD with a 247.5 psi start

                without approval. Finally, Car 29 was never approved for vinyl chloride

                service, which has a special regulatory provision.

             c. All three vinyl chloride tank cars owned by Oxy Vinyls—Cars 27, 28, and

                53—have missing or incorrect information on their AAR form 4-2. For

                example, Car 27 has modifications that were not properly documented or

                approved, including changes to two component parts that modified the

                material from stainless steel to carbon steel.

       194.     The damage and release of hazardous materials from Cars 26 27, 28, 29, and

53 were, in part, the result of Third-Party Defendants’ failure to follow federal regulations

and industry rules on the design, build, testing, modification, and qualification of hazardous

materials tank cars and their components.

       195.     As a direct and proximate result of Third-Party Defendants’ negligence,

Norfolk Southern has been damaged by incurring costs, expenses, and damages identified

herein and to be proved at trial.

                                        COUNT SEVEN

                                           Negligence
                                          (Oxy Vinyls)

       196.     The allegations in paragraphs 1 through 195 above are incorporated by

reference.

       197.     In undertaking to ship vinyl chloride by rail, Oxy Vinyls was obligated to

exercise care for the safety of Norfolk Southern’s employees, its property, those individuals



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and entities whose persons or property were within reasonable proximity to the rail lines, and

the environment.

       198.    By shipping vinyl chloride, Oxy Vinyls was obligated to exercise reasonable

and ordinary care, and/or that degree of care that a similarly chemical shipper would use

under the same or similar circumstances.

       199.    As a shipper, Oxy Vinyls was required to ensure that the equipment used in

shipping was compatible with the lading and could contain vinyl chloride.

       200.    By regulation, Oxy Vinyls was required to certify that the tank cars met the

applicable specification and packaging requirements, including the approved certificate of

construction, and certify that the tank cars were manufactured, assembled, and marked in

accordance with AAR tank construction requirements. 49 C.F.R. §§ 173.22, 173.31(a).

       201.    Consistent with these requirements, Oxy Vinyls certified that its tank cars and

components were suitable for vinyl chloride transportation.

       202.    However, the Federal Railroad Administration found that all five tank cars

used to ship vinyl chloride had discrepancies between the AAR 4-2 certificate of construction

and the cars’ actual characteristics, including non-approved changes to the PRDs, valves, and

component parts, and raised questions over whether a tank car was even approved for vinyl

chloride transportation.

       203.    As described above, Oxy Vinyls failed to exercise ordinary care by failing to

properly certify the design, build, testing, modification, and qualification of hazardous

materials tank cars and their components used for vinyl chloride transportation.

       204.    Oxy Vinyls was also required to prepare and submit an SDS for vinyl chloride.

29 C.F.R. § 1920.1200(g).




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          205.   The SDS was required to “accurately reflect[] the scientific evidence used in

making the hazard classification,” with continual, ongoing updates. Id. §§ 1920.1200(g)(5),

1920.1200(g)(6).

          206.   Oxy Vinyls submitted an SDS to Norfolk Southern explicitly stating that

“Exposure to the following conditions or mixtures with the following elements and materials

can cause explosive or violent polymerization of VCM: Air, Sunlight, Excessive heat,

Oxidizers, Catalytic metals, such as copper, aluminum and their alloys and certain catalytic

impurities.” Oxy Vinyls, Vinyl Chloride (Monomer) Safety Data Sheet, at 10 (emphasis

added).

          207.   The SDS Oxy Vinyls submitted to Norfolk Southern also warned repeatedly—

twelve times in various combinations—that vinyl chloride “MAY EXPLODE IF HEATED”

and that POLYMERIZATION CAN OCCUR.” Id. at 2.

          208.   Oxy Vinyls shipped vinyl chloride in tank cars with aluminum components in

the pressure release devices and in other components on each of the vinyl chloride tank cars.

For example, Cars 26, 27, 28, and 29 contained aluminum in the PRD springs, PRD surface,

or had aluminum used in various valves on the tank car. When the PRDs activated—releasing

flammable vinyl chloride that ignited—the vinyl chloride mixed with “air, sunlight” and

“aluminum.”

          209.   At the scene of the derailment, Oxy Vinyls representatives made conflicting

statements regarding the ability of vinyl chloride to polymerize, asking first responders to

ignore the all-caps text in its own SDS. At various times during the derailment response, Oxy

Vinyls representatives provided inconsistent warnings that polymerization was possible, was

not occurring, and could not occur, each with varying degrees of certainty.

          210.   Finally, Oxy Vinyls representatives have stated that polymerization was not

possible under the derailment conditions and that “stabilized” vinyl chloride—the same vinyl




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chloride that had been exposed to extreme conditions for nearly two full days—is incapable

of polymerizing under “normal” conditions.

        211.       Oxy Vinyls ignored its own federally required SDS on the safe handling of

vinyl chloride and improperly certified the shipping of its vinyl chloride in conditions

contrasting with its own guidance.

        212.       Further, Oxy Vinyls then ignored its own federally required warnings on the

safe handling of vinyl chloride and provided ineffectual and negligent warnings to Norfolk

Southern and first responders.

        213.       The vent and burn and release of hazardous vinyl chloride was the direct result

of the improper shipping containers and Oxy Vinyls’ failure to follow federal regulations and

its own SDS.

        214.       In the alternative, if aluminum components can be safely used with vinyl

chloride, then Oxy Vinyls’ SDS did not “accurately reflect the scientific evidence,” and Oxy

Vinyls failed to furnish a correct document for hazard communications.

        215.       Similarly, if vinyl chloride is not capable of polymerization in circumstances

like those present in East Palestine, then Oxy Vinyls’ SDS did not “accurately reflect the

scientific evidence,” and Oxy Vinyls furnished a negligently prepared SDS.

        216.       Oxy Vinyls violated federal regulations and its duties by failing to ensure that

its shipping equipment was compatible with its lading.

        217.       In addition, and/or in the alternative, as Oxy Vinyls now claims, it violated

federal regulations by providing a negligently prepared SDS.

        218.       As a direct and proximate result of Oxy Vinyls’ negligence, Norfolk Southern

has been damaged by incurring costs, expenses, and damages identified herein and to be

proved at trial.




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                                       COUNT EIGHT

                                    Negligence
              (General American Marks Company and GATX Corporation)

       219.    The allegations in paragraphs 1 through 218 above are incorporated by

reference.

       220.    As the railcar owner responsible for the maintenance of Car 23, General

American Marks Company, a subsidiary of GATX Corporation, was responsible for ensuring

that Car 23 moved at least one car length every six months, yet, upon information and belief,

Car 23 was twice stationary for longer than six months.

       221.    In owning and maintaining rolling stock ultimately transported by Norfolk

Southern, General American Marks Company was obligated to exercise care for the safety of

Norfolk Southern’s employees, its property, those individuals and entities whose persons or

property were within reasonable proximity to the rail lines, and the environment.

       222.    In ensuring the certification, qualification, compliance, and maintenance of

railcars and their components, General American Marks Company was obligated to exercise

reasonable and ordinary care, and/or that degree of care that a similarly situated railcar owner

would use under the same or similar circumstances.

       223.    Upon information and belief, General American Marks Company failed to

exercise ordinary care by, among other things, failing to properly maintain Car 23’s bearings

by leaving the car stationary for periods in excess of six months; failing to inspect the car’s

bearings after the car remained stationary for periods in excess of six months; failing to

advise carriers including Norfolk Southern that the car was not inspected after remaining

stationary for periods in excess of six months; and allowing and placing Car 23 into rail

service without inspecting its bearings after remaining stationary for periods in excess of six

months.




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       224.    Upon information and belief, leaving Car 23 stationary in excess of six months

damaged the lubrication of the bearing, leading to the degradation of the bearing and the

ultimate failure of the bearing. Car 23 and several other railcars in Train 32N subsequently

derailed.

       225.    Upon information and belief, the bearing failure on Car 23 was caused by the

negative impacts on the bearing and/or its functionality stemming from General American

Marks Company’s failure to properly maintain its railcar.

       226.    Upon information and belief, GATX Corporation exercises substantial direct

control over the operations of its subsidiary General American Marks Company, including

with respect to railcar maintenance.

       227.    As a direct and proximate result of General American Marks Company and

GATX Corporation’s negligence, Norfolk Southern has been damaged by incurring costs,

expenses, and damages identified herein and to be proved at trial.

                                        COUNT NINE

                    Ohio Joint & Several Liability and Contribution
       (Oxy Vinyls, General American Marks Company, and GATX Corporation)

       228.    The allegations in paragraphs 1 through 227 above are incorporated by

reference.

       229.    If the State of Ohio establishes that Norfolk Southern is responsible for

damages, then such damages were contributed to by Third-Party Defendant Oxy Vinyls

because of Oxy Vinyls’ failure to exercise ordinary care by failing to properly certify the

design, building, conversion, testing, modification, and requalification of hazardous materials

tank cars and their components; failing to properly certify that the railcar used was

compatible with the lading; failing to submit a scientifically accurate SDS; and/or failing to

properly warn Norfolk Southern of the dangers of an uncontrolled vinyl chloride fire.




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       230.     If the State of Ohio establishes that Norfolk Southern is responsible for

damages, then such damages were contributed to by Third-Party Defendant General

American Marks Company and GATX Corporation because of General American Marks

Company’s failure to properly maintain Car 23’s bearings by leaving the car stationary for

periods in excess of six months.

       231.    Under Ohio statute O.R.C. § 2307.22, Third-Party Defendants Oxy Vinyls,

General American Marks Company, and GATX Corporation are liable for their share of all

compensatory damages that represent economic loss.

       232.    Under Ohio statute O.R.C. § 2307.25, Third-Party Defendants Oxy Vinyls,

General American Marks Company, and GATX Corporation are liable to Norfolk Southern

for contribution as to any costs that Norfolk Southern has paid and will pay in excess of its

proportionate share of costs.

                                        COUNT TEN

                            Equitable Contribution
  (Oxy Vinyls, GATX Corporation, Trinity Industries Leasing Company, SMBC Rail
     Services LLC, Dow Chemical Incorporated, and Union Tank Car Company)

       233.    The allegations in paragraphs 1 through 232 above are incorporated by

reference.

       234.    If the State of Ohio establishes that Norfolk Southern is responsible for

damages, then Norfolk Southern is entitled under general principles of equity to contribution

from Third-Party Defendants for their full and fair share of costs incurred.

                                   PRAYER FOR RELIEF

       WHEREFORE, Defendants and Third-Party Plaintiffs Norfolk Southern Railway

Company and Norfolk Southern Corporation respectfully seek the following relief:

       A.      Order the Third-Party Defendants to pay their fair and equitable share of

               CERCLA response costs and other costs Norfolk Southern incurred and will




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              incur as a result of Third-Party Defendants’ conduct through the date of

              judgment, including pre-judgment interest;

       B.     Enter a judgment declaring the Third-Party Defendants’ appropriate share of

              future response costs under CERCLA;

       C.     Grant Norfolk Southern costs and interest as allowed by law; and

       D.     Provide such other and further relief as the Court deems just and proper.

                              DEMAND FOR JURY TRIAL

       Norfolk Southern demands a trial by jury of all issues so triable.

Date: June 30, 2023                                  Respectfully submitted,


                                                    By: /s/ Davina Pujari
                                                    Davina Pujari (admitted pro hac vice)
                                                    WILMER CUTLER PICKERING
                                                       HALE AND DORR LLP
                                                    One Front Street, Suite 3500
                                                    San Francisco, CA 94111
                                                    Tel.: (628) 235-1136
                                                    Fax: (628) 235-1001
                                                    Davina.Pujari@wilmerhale.com

                                                    Edward O’Callaghan (admitted pro hac
                                                    vice)
                                                    WILMER CUTLER PICKERING
                                                       HALE AND DORR LLP
                                                    2100 Pennsylvania Avenue NW
                                                    Washington, DC 20037
                                                    Tel.: (202) 663-6956
                                                    Fax: (202) 663-6363
                                                    Edward.O’Callaghan@wilmerhale.com

                                                    Claire Guehenno (admitted pro hac
                                                    vice)
                                                    WILMER CUTLER PICKERING
                                                       HALE AND DORR LLP
                                                    7 World Trade Center
                                                    250 Greenwich Street
                                                    New York, NY 10007
                                                    Tel.: (212) 295-6524
                                                    Fax: (212) 230-8888
                                                    Claire.Guehenno@wilmerhale.com



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                                        Christopher A. Rheinheimer (admitted
                                        pro hac vice)
                                        WILMER CUTLER PICKERING
                                           HALE AND DORR LLP
                                        One Front Street, Suite 3500
                                        San Francisco, CA 94111
                                        Tel.: (628) 235-1000
                                        Fax: (628) 235-1001
                                        Chris.Rheinheimer@wilmerhale.com

                                        Louis L. McMahon (0067378)
                                        MCMAHON DEGULIS LLP
                                        812 Huron Road, Suite 650
                                        Cleveland, OH 44115
                                        Tel.: (216) 367-1407
                                        lmcmahon@mdllp.net

                                        Counsel for Defendants and Third-Party
                                        Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2023, I caused a copy of the foregoing to be filed

with the Clerk of the Court using the Court’s CM/ECF electronic filing system, which will

provide electronic notice to all counsel of record.


                                                      /s/ Davina Pujari
                                                      Davina Pujari (admitted pro hac vice)
                                                      WILMER CUTLER PICKERING
                                                         HALE AND DORR LLP
                                                      One Front Street, Suite 3500
                                                      San Francisco, CA 94111
                                                      Tel.: (628) 235-1136
                                                      Fax: (628) 235-1001
                                                      Davina.Pujari@wilmerhale.com

                                                      Counsel for Defendants and Third-
                                                      Party Plaintiffs




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